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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

EDWARD TUCCIO,                       :
                                     :
     Plaintiff,                      :
                                     :
V.                                   :   CASE NO. 3:05-CV-1407(RNC)
                                     :
STEVEN D. PAPSTEIN,                  :
                                     :
     Defendant.                      :


                              RULING AND ORDER

     Plaintiff Edward Tuccio brings this suit under 42 U.S.C. §

1983 against Detective Steven D. Papstein of the Ridgefield

Police Department seeking damages for false arrest.             The action

arises from plaintiff’s arrest and prosecution in 2003 for making

derogatory statements involving banks, criminal impersonation,

and making false or misleading statements.          Plaintiff claims that

defendant submitted false information in the application

underlying the arrest warrant.       The defendant has moved for

summary judgment relying on his own affidavit.            Plaintiff has

moved to strike portions of the affidavit.          For the reasons that

follow, plaintiff’s motion to strike is denied and defendant’s

motion for summary judgment is granted.

I.   Motion to Strike

     Plaintiff moves to strike numerous paragraphs in defendant’s

affidavit on the ground that they contain inadmissible hearsay.

The paragraphs in question (5, 7, 9, 10, 12, 14, 18, 26, 27, 33,

34, and 35) describe information Detective Papstein learned
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during his investigation.       The statements contained in the

challenged paragraphs are not hearsay because defendant is not

offering them for the truth of the matters asserted.             The

statements are instead offered to show the information he had

when he applied for the arrest warrant or his state of mind at

the time of arrest.     See Golden v. City of New York, 418

F.Supp.2d 226, 233 (E.D.N.Y. 2006); see also United States v.

Puzzo, 928 F.2d 1356, 1365 (2d Cir. 1991) (noting that evidence

offered to show the effects of statements on a listener, or as

proof of the defendant’s state of mind, are not hearsay). In

determining whether probable cause existed in the context of a

false arrest claim, a court must consider the facts available to

the officer at the time of the arrest.         Lowth v. Town of

Cheektowaga, 82 F.3d 563, 569 (2d Cir. 1996).           The information

defendant obtained during his investigation is therefore properly

before the Court, and will be considered for its effect on his

probable cause determination.       Plaintiff’s motion to strike is

therefore denied.

II.   Motion for Summary Judgment

      A.    Facts

      On May 17, 2002, Captain Michael Casey of the Ridgefield

Police Department assigned Detective Papstein to investigate a

series of phone calls to the Connecticut Department of Banking.

Papstein interviewed Howard Pitkin, the Administrator of


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Depository Institutions for the Department of Banking, who

reported that the Department had received four telephone calls

regarding the Ridgefield Bank, as well as Paul McNamara, the

Bank’s chairman.

     Detective Papstein learned that the Department of Banking

received the first call on February 14, 2002.           The caller left a

voice mail for Department of Banking employee Richard Lalor.                 The

caller purported to be Rex Gustafson, and claimed that the

Ridgefield Bank was embezzling millions of dollars.             The caller

also claimed that the Bank had manipulated millions of dollars

under the name of Paul McNamara.       The Banking Department had

recorded and transcribed the telephone call.

     Detective Papstein learned that the second call occurred on

February 28, 2002.   An unknown caller, identifying himself as

Gary Smith at the Ridgefield Bank, left a voice mail message for

Richard Lalor.   The caller attempted to “report” Paul McNamara

for “doing bad things” at the Bank involving six million dollars

in revenues.   The Department of Banking also recorded and

transcribed this call.

     The third call occurred on March 12, 2002, when a caller

spoke directly with Richard Lalor.         The caller, purporting to be

Fred Orrico of Ridgefield, stated that Paul McNamara was stealing

money from him and that Ridgefield Bank was involved.




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     The Department of Banking received the fourth call on April

1, 2002, in the voice mail of Richard Lalor.         The caller

identified himself as Carl Lecher of Ridgefield and stated that

he was calling about a deal on “Treehouse Lane” in Ridgefield

involving Ridgefield Bank and Paul McNamara.         The Department of

Banking recorded and transcribed the call.

     Detective Papstein contacted Rex Gustafson, Gary Smith, Fred

Orrico, and Carl Lecher about the phone calls each had allegedly

made.   Rex Gustafson provided a sworn statement declaring that he

had listened to the tape of the telephone call, that it was not

his voice on the recording, and that he did not make the call.

Gary Smith provided a sworn statement making similar

declarations.   Fred Orrico and Carl Lecher also provided sworn

statements to Detective Papstein affirming that they had not

called the Department of Banking.      Papstein himself listened to

Lalor’s recorded voice mails and determined that the voice

sounded similar in all of the recorded calls.

     On May 22, 2002, Detective Papstein interviewed Paul

McNamara, with Captain Casey present.       McNamara told Papstein

that he had listened to the tape, and believed the voice to be

that of a former client of his law firm, Edward J. Tuccio.

McNamara had known Tuccio for more than thirty years.            Plaintiff

Edward J. Tuccio co-owns Tuccio Development, Inc., and at the

time of the telephone calls, was engaged in a lawsuit against


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Paul McNamara’s law firm, Donnelly McNamara & Gustafson, and

against Paul McNamara, Rex Gustafson, and Carl Lecher

individually, regarding properties on “Tea House Lane.”

     Paul McNamara also told Detective Papstein that he had been

contacted by Macklin Reid of the Ridgefield Press.           McNamara said

that Reid had told him a caller identifying himself as Paul

McNamara had contacted the Ridgefield Press voicing displeasure

over an article that had not been published, but that McNamara

had not actually made such a call.

     Detective Papstein interviewed Macklin Reid on May 25, 2002.

Reid stated that Tuccio had contacted him in April, 2002,

informing him of a possible story on the “Tea House Lane”

lawsuit.   Reid received a fax on April 23, 2002, purportedly from

Tuccio, containing a copy of the lawsuit and providing a contact

list that included Paul McNamara, Rex Gustafson, and Carl Lecher.

Reid told Detective Papstein that he had received a call about a

week after receiving the fax from Tuccio, purportedly from Paul

McNamara, asking why the story had not been published.            Reid had

spoken with McNamara in the past and did not believe him to be

the caller.

     On May 23, 2002, Detective Papstein contacted Tuccio

directly, recording the call on the Ridgefield Police

Department’s taped line.     He asked Tuccio about the fax to the

Ridgefield Press, which Tuccio admitted sending, and then


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informed Tuccio of the complaint regarding the Department of

Banking telephone calls.     Tuccio asked Papstein whether the calls

were taped, Papstein replied that they might have been, and

Tuccio stated he was going to contact an attorney because he was

not going to “indict” himself.     Tuccio did not deny making the

calls.

     After listening to the Department of Banking recordings and

speaking to Tuccio on the telephone, Papstein believed it was

Tuccio’s voice on the recorded calls.       Rex Gustafson, who knows

Tuccio personally, also listened to the tapes of the recorded

calls and told Detective Papstein he believed the voice was

Tuccio’s.   Carl Lecher, who has known Tuccio for more than thirty

years, also told Papstein the voice sounded like Tuccio’s.

     After obtaining search warrants for the telephone records of

Tuccio Development and Tuccio’s personal cellular telephone, and

finding no calls to the Department of Banking, Papstein learned

that the Department of Banking had a public toll free number

through which a caller could leave a voice mail message for

Richard Lalor.   Papstein asked Howard Pitkin to provide him with

records of the telephone numbers that called the toll free line

on the days the four calls were received.        When Papstein obtained

the records, he found that the Department of Banking had received

calls on each of the days in question from the number 203-438-

2670 in Ridgefield.   That telephone number was the same one used


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to call Richard Lalor on March 12, 2002 at 8:45 a.m.,

approximately the same time Lalor said he spoke directly to the

caller.

     Papstein contacted SBC/SNET regarding the number 203-438-

2670.       He learned that the number belonged to Tuccio Development,

Inc., with an associated address of 43 Eleven Levels Road in

Ridgefield.       Papstein checked the Ridgefield Town tax records and

found a tax bill listing Edward J. Tuccio as the owner of 43

Eleven Levels Road.      Papstein also learned from the Ridgefield

Post Office that Tuccio was receiving mail at 43 Eleven Levels

Road.

     Based on the results of his investigation, Papstein

concluded that he had probable cause to arrest Tuccio and

prepared an arrest warrant application.        A Connecticut Superior

Court Judge found probable cause and issued the warrant.             Tuccio

was arrested and charged with four counts of making derogatory

statements involving banks,1 four counts of criminal




        1
       Connecticut’s statute on Making Derogatory Statements
Involving Banks provides:
     Any person who, wilfully and maliciously, makes, circulates
     or transmits to another any false statement, rumor or
     suggestion . . . which is, directly or by inference,
     derogatory to the financial condition or affects the
     solvency or financial standing of any bank . . . shall be
     fined . . . or imprisoned not more than one year or both.
Conn. Gen. Stat. § 36a-55.

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impersonation,2 and four counts of making false and misleading

Statements.3

     On September 26, 2003, more than eight months after the

arrest warrant was signed, SBC/SNET sent Tuccio a letter

indicating that telephone number 203-438-2670, belonging to

Tuccio Development, was associated with the physical address of

70 Armand Road until September 19, 2002, when it was transferred

to 43 Eleven Levels Road.     The SBC/SNET letter was forwarded to

the Ridgefield Police Department on October 22, 2003.            Edward J.

Tuccio’s brother, Arthur Tuccio, Jr. – also a co-owner in Tuccio

Development – resided at 70 Armand Road with his wife and

children.   Edward Tuccio did not conduct business at 70 Armand

Road or reside at 70 Armand Road, but he did have access to the


     2
       Connecticut’s statute on Criminal Impersonation provides:
     A person is guilty of criminal impersonation when he: (1)
     Impersonates another and does an act in such assumed
     character with intent to obtain a benefit or to injure or
     defraud another . . . .
Conn. Gen. Stat. § 53a-130(a).
     3
       Connecticut’s statutes on Making False and Misleading
Statements provide:
     No person shall make . . . orally or . . . in any
     proceeding, investigation or examination under [the Banking
     Law of Connecticut], any statement which is, at the time and
     in the light of the circumstances under which it is made,
     false or misleading in any material respect.
     . . .
     (a) Any person who violates any provision of the banking law
     . . . shall be fined . . . for each offense.
     (b) Any person who wilfully and deliberately violates any
     provision of the banking law . . . shall be imprisoned not
     more than one year or fined . . . or both, for each offense.
Conn. Gen. Stat. §§ 36a-53a, 36a-57.

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telephone service there.

     At an unknown point during the Tuccio investigation and

prosecution, Detective Papstein also gained access to a

deposition transcript in which Tuccio denied making the telephone

calls to the Department of Banking.

     On November 6, 2003, a jury acquitted Edward J. Tuccio of

all charges. In 2003, Tuccio also won civil cases against Paul

McNamara for legal malpractice, and Carl Lecher for fraud and

violation of the Connecticut Unfair Trade Practices Act.

     B.   Summary Judgment

     Summary judgment may be granted when there is no genuine

issue as to any material fact and the moving party is entitled to

judgment as a matter of law.     Celotex Corp. v. Catrett, 477 U.S.

317, 322 (1986).   The substantive law determines which facts are

material; only disputes over facts that might affect the outcome

of the suit will preclude the entry of summary judgment. Anderson

v. Liberty Lobby, Inc. 477 U.S. 242, 248 (1986).            When ruling on

a summary judgment motion, a court must view all evidence in the

light most favorable to the party opposing summary judgment and

draw all permissible inferences from the evidence in favor of the

non-moving party. Gummo v. Village of Depew, 75 F.3d 98, 107 (2d

Cir. 1996).   However, a non-movant must offer some “hard

evidence” showing his version of events is not “wholly fanciful,”

and must provide more than mere conjecture or speculation.


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Jeffreys v. City of New York, 426 F.3d 549, 554 (2d Cir. 2005);

Quarles v. General Motors, 758 F.2d 839, 840 (2d Cir. 1985).                A

“mere scintilla” of evidence in support of the non-movant’s

position will be insufficient to defeat summary judgment; there

must be evidence on which a jury could reasonably find for the

party.    Anderson, 477 U.S. at 252.

     C.     Discussion

     Plaintiff claims that defendant included materially false

statements, necessary to a finding of probable cause, in the

arrest warrant application.     Specifically, plaintiff alleges that

the defendant falsely represented that the telephone from which

the subject calls were made belonged to the plaintiff, placed

undue emphasis on the plaintiff’s refusal to submit to

interrogation, and misrepresented Carl Lecher’s identification of

plaintiff and the number of phone calls actually made.

     The Fourth Amendment gives individuals a right to be free

from arrests made without probable cause.        Weyant v. Okst, 101

F.3d 845, 852 (2d Cir. 1996).      This right is violated when the

officer submitting an arrest warrant application “knowingly and

intentionally, or with reckless disregard for the truth,” makes a

false statement or omits material information from his affidavit,

and such information is necessary to the probable cause

determination.    Soares v. Connecticut, 8 F.3d 917, 920 (2d Cir.

1993).    There can be no federal civil rights claim when probable


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cause exists, and probable cause provides an arresting officer

with an absolute defense to false arrest.           Singer v. Fulton

County Sheriff, 63 F.3d 110, 118 (2d Cir. 1990); Caldarola v.

Calabrese, 298 F.3d 156, 161 (2d Cir. 2002).

        Probable cause to arrest exists when an officer has

“knowledge or reasonably trustworthy information of facts and

circumstances that are sufficient to warrant a person of

reasonable caution in the belief that the person to be arrested

has committed . . . a crime.”         Weyant, 101 F.3d at 852.         The

probable cause determination depends on the facts available to

the officer “at the time of the arrest and immediately before

it.”     Lowth, 82 F.3d at 569.     Courts must look to the totality of

circumstances in determining whether probable cause existed,

keeping in mind that probable cause is a fluid, situation-

specific concept not readily reduced to a neat set of rules.

Illinois v. Gates, 462 U.S. 213, 233 (1983); Caldarola, 298 F.3d

at 162.

        The issuance of a warrant by a neutral magistrate generally

creates a presumption that the arresting officer’s belief in

probable cause was reasonable.         Golino v. City of New Haven, 950

F.2d 864, 870 (2d Cir. 1991).         A plaintiff arguing that a warrant

was issued on less than probable cause faces a heavy burden, and

must make a “substantial preliminary showing” that the arresting

officer violated his Fourth Amendment rights.             Id. at 870-871.


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     Applying these rules, I find as a matter of law that

Detective Papstein had probable cause.4        Two witnesses who knew

plaintiff personally, one of whom had known him for more than

thirty years, believed the voice on the recorded calls was that

of the plaintiff.       A third witness who had also known plaintiff

for more than thirty years told Detective Papstein that the voice

sounded like plaintiff’s.       When Papstein himself listened to the

recorded calls and spoke with the plaintiff, he believed

plaintiff’s voice matched the voice on the recordings.             Defendant

obtained records showing that the Department of Banking received

phone calls from the plaintiff’s business number on each of the

days in question and, in the one instance when the Department of

Banking provided an approximate time of the call, plaintiff’s

business number registered as calling at almost exactly that

time.       Plaintiff’s lawsuit against McNamara, Gustafson, and

Lecher over the “Tea House Lane” properties linked him to the

persons named in, and the subject matter of, several of the

calls.       Finally, when defendant confronted plaintiff about the

calls, plaintiff stated that he did not want to “indict” himself

and refused to speak further.

     Plaintiff has not made a “substantial preliminary showing”

of a Fourth Amendment violation that could negate the probable



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       Because plaintiff can prove no Fourth Amendment violation,
it is not necessary to reach the issue of qualified immunity.

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cause finding.    Crediting all evidence favoring the plaintiff,

and giving him the benefit of all reasonable inferences,

defendant still would have probable cause as a matter of law

based on the multiple voice identifications – including

defendant’s personal identification of plaintiff’s voice – and

the telephone records linking plaintiff’s business to the calls.

See Olivera v. Mayer, 23 F.3d 642, 647 (2d Cir. 1994) (holding

that sufficiently reliable and corroborated information about

criminal activity from a single complainant can establish

probable cause); Rizzo v. Edison, 419 F.Supp.2d 338, 347

(W.D.N.Y. 2005) (witness’s statement to police that she

recognized defendant’s voice significant in probable cause

determination).

     Plaintiff attempts to use his recollections of statements

made at his criminal trial to cast doubt on information Detective

Papstein provided in the arrest warrant application.            He claims

that Carl Lecher could not identify him at his criminal trial and

that defendant misrepresented evidence in claiming four calls

were made since only three calls were discussed at the trial.

Plaintiff has failed to make a “substantial preliminary showing”

to support either of these contentions.        He points only to self-

serving hearsay descriptions from his own deposition that do not




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actually support his claim.5      Even assuming his contentions were

supported by admissible evidence, they would be legally

insufficient to refute probable cause.         Pointing out

inconsistencies between a probable cause affidavit and trial

testimony without further evidence that an arresting officer

misrepresented the information he was initially given does not

defeat probable cause.       Mapp v. Warden, 531 F.2d 1167, 1172-1173

(2d Cir. 1976).   Probable cause determinations depend on the

facts known to the officer at the time of arrest. Devenpeck v.

Alford, 543 U.S. 146, 152-153 (2004); see also United States v.

Tramunti, 513 F.2d 1087, 1104 (2d Cir. 1975).

     Plaintiff claims that defendant falsely represented in the

arrest warrant application that the telephone from which the

subject calls were made was his when in fact it was located in

his brother’s personal residence.        Plaintiff also contends that

defendant failed to ask SBC/SNET where the telephone was located,

or obtain records of the telephone’s location, at the time the


     5
       To support the contention that Carl Lecher failed to
identify him at the criminal trial, plaintiff points to his own
deposition stating, “In the trial . . . Carl Lecher, the Police
Commissioner, never said that the voice was mine. He said, ‘It
sounds like Edward Tuccio.’ He did not say that it was that of
Edward Tuccio.” Lecher’s statement that “It sounds like Edward
Tuccio,” does not undercut probable cause. Similarly, plaintiff
points to his own deposition to suggest that evidence of only
three calls was presented at trial. The page he cites refers to
plaintiff’s testimony that only three calls were recorded –
entirely consistent with Detective Papstein’s affidavit – and
that descriptions of the fourth (recorded) call did not identify
Carl Lecher as the Police Commissioner.

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calls were made.       However, plaintiff agrees that the telephone

was registered to Tuccio Development Inc., the company he co-

owned, and that he had access to the telephone when it was

located in his brother’s house.         Only material factual disputes

can defeat a motion for summary judgment.           Quarles, 758 F.2d at

840.     Here, Papstein’s affidavit, corrected in a manner most

favorable to the plaintiff’s claim, still supports a finding of

probable cause.      Plaintiff had access to the telephone, and it

was registered to his company.         Taking these facts along with the

others in Papstein’s affidavit, probable cause to arrest

plaintiff would still remain.         Plaintiff’s allegations are

therefore not material and will not defeat summary judgment.

        Finally, plaintiff argues that defendant’s affidavit unduly

relied on plaintiff’s refusal to submit to interrogation once he

realized he was the subject of a criminal investigation.

Plaintiff contends that at the time he prepared the affidavit,

defendant possessed a transcript of a deposition in which

plaintiff expressly denied making the calls.            Plaintiff has

presented no evidence that defendant actually received the

transcript before he prepared the affidavit.            However, assuming

the transcript was actually available to Papstein as he prepared

the affidavit, he had no duty to “explore and eliminate every

theoretically plausible claim of innocence before making an

arrest.” Ricciuti v. N.Y.C. Transit Authority, 124 F.3d 123, 128


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(2d Cir. 1997).   Further, probable cause existed for plaintiff’s

arrest even “correcting” for the omitted information, based on

the totality of the other facts defendant presented in his

affidavit.

III. Conclusion

     For the foregoing reasons, plaintiff’s motion to strike is

denied and defendants’ motion for summary judgment is granted.

The Clerk may close the file.

     So ordered this 29th day of September 2007.



                                             /s/
                                       Robert N. Chatigny
                                 United States District Judge




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